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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                             Plaintiff

                                                           Case No. 1:21-cr-01724-MV


       -vs-

GENE DOMINIC ANAYA,

                             Defendant.


          ORDER GRANTING DEFENDANT’S OPPOSED MOTION TO
      REOPEN DETENTION HEARING TO PERMIT INPATIENT TREATMENT

       THIS MATTER is before the Court on defendant Gene Dominic Anaya’s Opposed

Motion to Reopen Detention Hearing to Permit Inpatient Treatment and Unopposed Request for

Emergency Hearing, filed on March 31, 2022. Doc. 27. Mr. Anaya asks the Court to reopen the

detention hearing and permit him to be released for treatment at the Four Winds Recovery Center

based on additional medical evidence from both the Metropolitan Detention Center (MDC) in

Albuquerque, where he was housed before coming into federal custody, and from the Cibola

County Correctional Center (CCCC), where he currently is housed. See id. The United States

opposes Mr. Anaya’s release from custody based on the dangerous circumstances related to the

offense charged in this case, but it did not oppose the Court holding an emergency hearing on the

matter. See id. at 5. The Court held a hearing on the motion on April 1, 2022. Doc. 30. For the

following reasons, the Court will GRANT Mr. Anaya’s motion and release him to the third-party
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custody of the Four Winds Recovery Center in Farmington, New Mexico, subject to the

conditions of release specified in the attached document.

       On March 18, 2021, a criminal complaint was filed against Mr. Anaya charging him with

carjacking, in violation of 18 U.S.C. § 2119. Doc. 1. Mr. Anaya was arrested on that charge in

late October 2021, and the Court held a detention hearing on November 1, 2021. See Docs. 4,

15. The Court detained Mr. Anaya based primarily on the dangerous circumstances surrounding

the carjacking, the fact that he had committed the offense shortly after he had been arrested for

aggravated assault, and that he had tried to flee from law enforcement officers. See Doc. 16 at 3.

The Court also found that the weight of the evidence against Mr. Anaya was strong, and that he

had a history of substance abuse. Id. at 2. But the Court did not object to Mr. Anaya being put

on a wait list at Four Winds, and it permitted Mr. Anaya to come back before the Court if he was

accepted into the Four Winds program. On November 17, 2021, a federal grand jury returned an

indictment against Mr. Anaya charging him with carjacking. Doc. 18.

       Mr. Anaya was accepted into a three-month treatment program at Four Winds and is

eligible for admission on April 4, 2022. See Doc. 27 at 1. He argues that his medical records

from MDC and CCCC and his recent acceptance into the Four Winds Recovery Center treatment

program constitute new evidence that warrant reopening the detention hearing and releasing him

to the Four Winds Recovery Center. At the hearing on the Mr. Anaya’s motion, the United

States did not argue that the medical records and the acceptance into Four Winds did not

constitute new evidence warranting reopening the detention hearing. Instead, the United States

argued that the circumstances that led to the charge in this case were so dangerous that it still

believed that Mr. Anaya posed a serious risk of danger to the community.



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       A judicial officer may reopen a detention hearing if she “finds that information exists that

was not known to the movant [Mr. Anaya] at the time of the hearing and that has a material

bearing on the issue whether there are conditions of release that will reasonably assure the

appearance of such person as required and the safety of any other person and the community.”

18 U.S.C. § 3142(f)(2). At the hearing on Mr. Anaya’s motion, Mr. Anaya’s counsel

summarized the medical records from MDC and CCCC showing that Mr. Anaya had been

diagnosed with several mental health conditions at MDC and had been taking medication for

those conditions. He also was attending counseling sessions while in custody. While on his

medication, Mr. Anaya had stabilized and received positive evaluations from his treatment

providers about his success in dealing with his issues. At CCCC, Mr. Anaya’s treatment

providers confirmed the diagnosis he received at MDC. The records at CCCC also generally

supported the assessments made at MDC about Mr. Anaya’s progress and his motivation to

continue to comply with his medication regime. In addition, Mr. Anaya has exhibited a strong

motivation to work on his substance abuse issues. Reviewing the pretrial services report, and

given that Mr. Anaya had almost no criminal history before he was charged in March 2021 with

both aggravated assault and shortly thereafter with carjacking, Mr. Anaya’s counsel suggested

that the alleged assault and carjacking may have resulted from undiagnosed and untreated mental

illness, perhaps in conjunction with self-medication.

       Based on the evidence proffered at the hearing and the arguments of counsel, the Court

finds that Mr. Anaya has presented sufficient evidence to reopen the detention hearing. Further,

based on the evidence presented, and for the reasons stated at the hearing and in this order, the

Court finds that it can fashion conditions of release that will reasonably assure both the safety of

any other person and the community and also Mr. Anaya’s future appearance as required.

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Counsel for Mr. Anaya described the program at Four Winds as a “lockdown” program that

participants are not free to leave. Four Winds also has a contract with U.S. Probation and

Pretrial Services to provide treatment to federal defendants. Pretrial Services does not oppose

Mr. Anaya’s release to Four Winds so long as Mr. Anaya is under pretrial supervision, and he

continues to comply with all his prescribed mental health medications. Doc. 27 at 5. The Court

therefore will release Mr. Anaya to the third-party custody of the Four Winds Recovery Center in

Farmington, New Mexico, to complete a three-month inpatient treatment program, as soon as the

paperwork necessary for placing Mr. Anaya in the program is completed. The conditions of his

release are reflected in the attached document. Upon successful completion of the program, Mr.

Anaya may move for modification of his conditions of release based on whatever his current

circumstances are at that time.

       IT IS THEREFORE ORDERED that defendant Gene Dominic Anaya’s Opposed

Motion to Reopen Detention Hearing to Permit Inpatient Treatment and Unopposed Request for

Emergency Hearing, (Doc. 26) is GRANTED. Mr. Anaya will be released as soon as the

paperwork necessary for him to enter the Four Winds Recovery Center is completed and the

Center is ready to accept him. Upon his release, he will be subject to all mandatory conditions of

release and the additional conditions of release specified in the attached document.

       DATED this 2nd day of April 2022.




                                                     __________________________________
                                                     Laura Fashing
                                                     United States Magistrate Judge




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